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              DECLARATION OF JACKSON MANUEL VILLA WILHELM

I, Jackson Manuel Villa Wilhelm, hereby declare under penalty of perjury pursuant to 28 U.S.C.
§ 1746 that the following is true and correct.

   1. I make this declaration based on my own personal knowledge and if called to testify I
      could and would do so competently and truthfully to these matters.

   2. My name is Jackson Manuel Villa Wilhelm. I am 27 years old and from Venezuela. I first
      entered the United States in July 2023, after which I was deported to Mexico. I tried
      entering again around October 2023, but was sent back to Mexico. I last entered the
      United States around December 2023 because I was desperate to be safe and with my
      family in the United States. I was in federal custody for the whole time I was in the
      United States.

   3. I am currently detained at the El Paso Processing Center in Texas. My partner, Elena
      Urbina, and four year old daughter live nearby in El Paso.

   4. I heard from other people in detention that the U.S. government has started transferring
      Venezuelans with final orders to the military base at Guantánamo Bay, Cuba. I also heard
      the U.S. government is targeting people they think are criminals or gang members, even
      if they have no proof.

   5. I am afraid of being transferred to Guantánamo. I believe that I am at risk of being
      transferred because I have a final order of deportation and am from Venezuela. I also
      think I will soon be transferred to Guantánamo because I have a tattoo, and I hear that
      ICE thinks people with tattoos are gang members. My tattoo is of a rosary, and does not
      have anything to do with a gang.

   6. I do not want to be transferred to or detained at Guantánamo. I am afraid of what will
      happen to me when I get there. I heard that there is no ability to contact lawyers or family
      from Guantánamo. I want access to an attorney to help me get out of detention and figure
      out what options I have in my immigration case.

   7. Everything in this declaration is true and correct to the best of my knowledge and
      recollection. This declaration was read back to me in Spanish, a language in which I am
      fluent.
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Executed on the 19th of February, 2025 in El Paso, Texas.




Jackson Manuel Villa Wilhelm
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                             CERTIFICATE OF TRANSLATION

       I, Zoe Bowman, certify that I am fluent in both English and Spanish. On February 19,

2025, I personally spoke with Jackson Manuel Villa Wilhelm and read the foregoing declaration

to him, translated into Spanish faithfully and accurately. Mr. Villa Wilhelm affirmed that he

understood my translation and that the information in the above declaration is true and accurate.

       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.




_______________________________
Zoe Bowman
Attorney
Las Americas Immigrant Advocacy Center
1500 Yandell Dr.
El Paso, TX 79902
(715) 456 9597
zoebowman@las-americas.org
